Case 1:20-cv-03595-TJK Document 4 Filed 12/28/20 Page 1of1

AFFIDAVIT OF PROCESS SERVER

United States District Court for the District of Columbia

Hope VanDross Attorney: Ryan A, Hintzen, Esq.
Plaintiff(s), The Hintzen Law Firm, PLLC
VS 601 Pennsylvania Ave., NW, #900, South Bidg.
, Washington DC 20004

Chronicle of Higher Education, Inc. (The)
Defendant(s).

 

 

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HN

 

 

 

 

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Case Number: 1:20-cv-03595-TJK

Legal documents received by Same Day Process Service, Inc. on 12/15/2020 at 5:50 PM to be served upon Chronicle
of Higher Education, Inc. (The), by serving Prentice-Hall Corporation System, Inc. at 1090 Vermont Ave., NW,
#430, Washington, DC 20005

I, Harvey Jessup, swear and affirm that on December 17, 2020 at 12:12 PM, I did the following:

Served Chronicle of Higher Education, Inc. (The), by serving Prentice-Hall Corporation System, Inc. by
delivering a conformed copy of the Summons in a Civil Action; Complaint; Notice of Right to Consent to Trial
Before a United States Magistrate Judge; Notice, Consent, and Reference of a Civil Action to a Magistrate
Judge; Standing Order in Civil Cases; Exhibits to Max Schriner as Authorized Agent of Chronicle of Higher
Education, Inc. (The), by serving Prentice-Hall Corporation System, Inc, at 1090 Vermont Ave., NW, #430 ,
Washington, DC 20005.

Description of Person Accepting Service:
Sex: Male Age: 30 Height: 5ft9in-6ft0in Weight: Over 200 Ibs Skin Color: Caucasian Hair Color: Auburn

Supplemental Data Appropriate to this Service:

I declare under penalty of perjury that the foregoing information contained in this affidavit is true and correct and that I
am a professional process server over the age of 18 and have no interest in the above legal matter,

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Washington DC 20005 we co
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info @samedayprocess.com Te

Internal Job ID: 260607
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